UNITED STATES DISTRICT COURT
EASTERN DISTRICT OF NEW YORK

                                                   :
 MCDONALD’S CORPORATION,                           :
                                                   :   No. 1:19-cv-06471-DLI-ST
                         Plaintiff,                :
                                                   :   DECLARATION OF DENISE
            v.                                     :   ALVAREZ IN FURTHER SUPPORT
                                                   :   OF PLAINTIFF’S MOTION IN
 VANDERBILT ATLANTIC HOLDINGS                      :   LIMINE TO PRECLUDE THE
 LLC,                                              :   ADMISSION OF CERTAIN
                                                   :   EMAILS INTO EVIDENCE
                         Defendant.                :



       DENISE ALVAREZ, an attorney admitted to practice law in the State of New York and in

this Court, declares, pursuant to 28 U.S.C. §1746, as follows:

       1.        I am a partner at the law firm of Pashman Stein Walder Hayden, P.C., attorneys for

Plaintiff McDonald’s Corporation (“McDonald’s”) in this matter.

       2.        I submit this declaration in further support of McDonald’s motion in limine to

preclude the admission of certain emails identified by Vanderbilt Atlantic Holdings LLC

(“Vanderbilt”) on its trial exhibit list submitted with the Amended Proposed Joint Civil Pretrial

Order, dated January 3, 2025 [ECF No. 106]. I make this declaration based on personal knowledge

unless otherwise stated herein.

       3.        Attached as Exhibit 1 is a true and correct copy of the privilege log served by

Vanderbilt in this matter.

       I declare under penalty of perjury that the foregoing is true and correct.



Dated: March 14, 2025                                        /s/ Denise Alvarez
                                                             Denise Alvarez
